                 Case 10-27532-LMI         Doc 1309     Filed 04/10/17     Page 1 of 2


                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA


In re:                                                        Case No. 10-27532-LMI
                                                              Chapter 7
FIRST FOLIAGE, L.C.
SS #



             Debtor(s)                 /

                                  NOTICE OF DEPOSIT OF FUNDS

Notice is hereby given that:

(X)      The trustee has a balance of $45,456.04 remaining in the trustee’s account which
         represents unpresented checks drawn and mailed to entities pursuant to the final
         distribution under section 726, 1226 or 1326 of title 11 in a case under chapter 7, 12 or 13
         of title 11. The trustee has made a good faith effort to verify the correct mailing addresses
         for said entities and deliver the funds before presenting this notice. More than sufficient
         time has passed for these checks to be presented for payment; or

( )      The trustee has a balance of $_______ remaining in the trustee’s account which
         represents small dividends as defined by FRBP 3010.


         Attached and made a part of this notice is a list, pursuant to FRBP 3011, of the names,
claim numbers and addresses of the claimants and the amount to which each is entitled.

           WHEREFORE, the trustee hereby gives notice that the above stated sum has been
deposited with the Clerk of the U.S. Bankruptcy Court, Southern District of Florida, to effect closing of
this estate.

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been mailed this 10th
day of April, 2017, to debtor, attorney for debtor and Assistant United States Trustee, 51 S.W. First
Avenue, Suite 1204, Miami, FL 33130.




                                               /s/ Jacqueline Calderin
                                               Jacqueline Calderin, Trustee
                                               936 SW 1st Avenue, #880
                                               Miami, FL 33130
                                               Telephone: (786) 369-8440
                                               Fax:
             Case 10-27532-LMI         Doc 1309   Filed 04/10/17   Page 2 of 2


                                   FIRST FOLIAGE, L.C.
                                      10-27532-LMI
                                  STALED DATED FUNDS



CLAIM NO CLAIMANT                                                                 AMOUNT

      51   Tropical Plants & Foliage                                                $885.56
      31   Ofe International Inc.                                                   $863.67
      13   Gempler''s                                                                $79.75
       9   South Point Express                                                   $15,237.79
       4   Braam Young Plants Usa                                                   $675.30
           Container Centralen, Inc.                                             $27,713.97




                                         10-27532 LMI
                                       DIMINIMUS FUNDS


CLAIM NO   CLAIMANT                                                               AMOUNT
